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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Neuroscience Advanced Systems, Inc., a )
 New York Corporation,                  )
                                        )
              Plaintiff,                )
                                        )
                                        ) Case No. 22-cv-06847
Eugene Lipov and Lipov Medical S.C.     )
d/b/a Stella Center,                    )
                                        )
              Defendant.                )

   DEFENDANTS, EUGENE LIPOV AND LIPOV MEDICAL S.C. D/B/A STELLA
 CENTER’S, MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS
                    PLAINTIFF’S COMPLAINT


       Eugene Lipov (“Lipov”) and Lipov Medical S.C. d//b/a Stella Center (“Stella”),

(collectively, “Defendants”), through their undersigned counsels, Paul M. Bach and Penelope N.

Bach of Bach Law Offices, Inc., hereby submit this memorandum of law in support of their

Motion to Dismiss Plaintiff’s Complaint (“Compl.” and/or “Complaint”) pursuant to Fed. R.

Civ. P. 12(b)(6). In support of their Motion, Lipov and Stella state the following:

                                       INTRODUCTION

       Plaintiff’s factually bare Complaint fails to state a claim upon which relief can be

granted. This action was initially filed in the Circuit Court of Cook County and removed to this

Court by filing of a Notice of Removal on November 6, 2022. The Complaint unsuccessfully

sketches three claims that relate to a Shareholders Agreement, attached to the Complaint, which

is governed by New York law. While the pleading is unclear, Count One-Constructive Trust and

Accounting appears to be directed at both Lipov and Stella, whereas Count Two-Breach of

Fiduciary Duty and Count Three-Breach of Contract are lodged solely against Lipov.



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        Plaintiff’s constructive trust and accounting claims against Lipov should be dismissed

because, in addition to bare allegations, New York law precludes these equitable remedies where

the parties’ relationship is governed by a written instrument (the Shareholders Agreement),

which provides an adequate remedy a law.1 Plaintiff also fails to plausibly plead the elements of

a breach of contract and fiduciary duty claims against Lipov. The equitable claims should also

be dismissed against Stella because Plaintiff has not plausibly pled the claim elements, including

that Stella, a stranger to the Shareholders Agreement, owed Plaintiff a fiduciary duty.

        Finally, Plaintiff pled part of a conversation reduced to writing, but omitted that in that

conversation and writing, Lipov resigned as a shareholder, director, and officer of Plaintiff,

rendering certain Complaint allegations unviable. Lipov no longer owed a fiduciary duty to

Plaintiff, such that Defendants’ motion to dismiss should be granted in its entirety.

                            ALLEGATIONS OF THE COMPLAINT

       According to the Complaint, Plaintiff is a New York Corporation, incorporated in

September 2016. (Compl. ¶ 1). In or about February 2018, Plaintiff, Lipov, and Phillip A.

DeFina (“DeFina”) entered into a Shareholders Agreement (the “Agreement”), that is attached

to the Complaint. (Id. ¶ 5). Plaintiff alleges that Lipov is a licensed physician in the State of

Illinois, a resident of Cook County, (Id. ¶ 2), and that he is a 30% shareholder of the Plaintiff

(which is closely held with only two shareholders) with DeFina owning the remaining 70% of

the outstanding shares. (Id. ¶ 4). Further, Stella was incorporated in February 2020 and Lipov is

the President, Secretary, and a shareholder of Stella. (Id. ¶ 4).

        Plaintiff alleges that while the Agreement was in effect, Lipov and Defina were officers




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 While certain provisions of the Agreement are unenforceable, Plaintiff alleged and Defendants
do not challenge that Plaintiff and Lipov’s relationship is governed by the Agreement.

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and directors of the Plaintiff. (Compl. ¶ 6). Plaintiff pled that, “in or about 2019, Lipov informed

Defina that he was going to create a competing company…” (Compl. ¶ 6). As a consequence of

this pleading, Plaintiff refers to an oral agreement to modify the Agreement, that was intended to

be formalized in a written letter sent from Lipov to DeFina on July 8, 2019, in which Lipov

informed DeFina of the new company. The July 8, 2019, letter is attached as an Exhibit.

       Plaintiff omits the July 8, 2019, letter because it demonstrates that Lipov resigned as a

shareholder, director and officer of Plaintiff, thereby invalidating certain allegations of fiduciary

duty and marking the end of Plaintiff conducting business. Plaintiff alleges DeFina procured

Mike Modica as a potential investor for Plaintiff, and that Lipov caused Modica not to invest

with Plaintiff but Modica invested with Stella, which was not incorporated until 2020. (Compl.

¶¶ 14-16). Plaintiff ignores the July 8, 2019, letter as Lipov was no longer a shareholder, officer,

or director as of July 8, 2019, and there is no basis to impart fiduciary liability to Lipov.

       Plaintiff’s Complaint concludes with naked allegations that Lipov disclosed and Stella

used and continues to use (with knowledge) some unspecified confidential information of

Plaintiff’s to treat patients. (Compl. ¶¶ 14-16). Further, Plaintiff lodges claims based on an

unenforceable “best efforts” clause and an unenforceable restrictive covenant, seeking to prevent

Lipov from working in his chosen medical field anywhere in the world for three years. In sum,

Plaintiff allegations are factually bare, legally deficient, and fail to support a claim upon which

relief can be granted. This case should be dismissed pursuant to Fed. R. Civ. Pro 12)b)(6).

                                       LEGAL STANDARD

       A motion to dismiss under Fed.R.Civ.Pro 12(b)(6) challenges the sufficiency of the

complaint for failure to state a claim upon which relief may be granted. General Electric Capital

Corp. v. Lease Resolution Corp., 128 F.3d 1074, 1080 (7th Cir. 1997). “Rule 8(a)(2) prescribes



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what a pleading must show; Twombly and Iqbal clarify that rule’s demands. A complaint must

include facts showing a plausible—not merely ‘conceivable’—entitlement to relief.” Taha v.

International Brotherhood of Teamsters, Local 781, 947 F.3d 464, 469 (7th Cir. 2020) (quoting

Ashcroft v. Iqbal, 556 U.S. 662 (2009); citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “When a complaint’s facts ‘do not permit the court to infer more than the mere

possibility of misconduct, the complaint has alleged—but it has not ‘shown’—‘that the pleader is

entitled to relief.’” Id. (quoting Iqbal, 556 U.S. at 679) (quoting Fed. R. Civ. P. 8(a)(2)). “[A]

complaint must plead ‘more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.’” Id. (quoting Iqbal, 556 U.S. at 678). A complaint does not “suffice if it tenders

‘naked assertions’ devoid of ‘further factual enhancement.’” Id. (quoting Iqbal, supra) (quoting

Twombly, 550 U.S. at 557 (internal brackets omitted by the court). “In keeping with these

principles, when considering the viability of a claim in the face of a Rule 12(b)(6) challenge, [the

court] may reject sheer speculation, bald assertions, and unsupported conclusory statements.” Id.

(citing, inter alia, Iqbal, 556 U.S. at 678, 681; Twombly, 550 U.S. at 555.

                                           ARGUMENT

I.      THE COURT SHOULD APPLY NEW YORK LAW.

        At its core, Plaintiff faulty Complaint is based on the Agreement, which is to be

construed and governed by New York law. (ECF No. 1-1, Page ID #25). Illinois courts respect

contractual choice-of-law clauses if the contract is valid, and the law chosen is not contrary to

Illinois's fundamental public policy. Thomas v. Guardsmark, Inc., 381 F3d 701, 706 (7th Cir

2004). The court will respect a choice of law clause unless “the contract's legality is fairly in

doubt, unconscionable, or if there is some other issue as to [its] validity …” Patterson v.

Respondus, Inc., 593 F. Supp 3d 783, 808 (N.D. Ill. 2022).



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         Here, Plaintiff pled a valid contract, and cannot dispute that New York Law applies to

Lipov. Therefore, the Court should apply New York law to all claims against Lipov. Stella is not

a party to the Agreement and the Court might be inclined to apply the forum law of Illinois to

Stella. However, the Agreement is to be construed under New York law, and under New York

law, “a third-party beneficiary, [] a successor in interest, or an entity that owns or is owned by

the signatory may invoke such a provision even though not a party to the contract.” Bank of Am.

Nat. Ass’n v. Bassman FBT, L.L.C., 2012 I.L. App (2d) 110729, ¶ 8, 981 NE2d 1, 5, as mod on

denial of reh (Dec. 7, 2012) (citing Sealord Marine Co. v. American Bureau of Shipping, 220

F.Supp.2d 260, 270 (S.D.N.Y.2002)). Plaintiff alleges “Lipov [a signatory to the agreement] is

[] a shareholder of Stella” and “president” of Stella which is sufficient to allow this Court to

apply New York law to Stella. (Compl. ¶¶ 14-16). As Illinois supports choice of law in valid

contracts, this dispute arises from an Agreement with a New York Corporation, and Stella is

owned by Lipov, New York Law applies to Stella and New York law is proper for all parties.

II.      COUNT I SHOULD BE DISMISSED WITH PREJUDICE.

      A. Law Regarding Constructive Trust and Accounting

         Under New York law, to obtain a constructive trust, a party is generally required to plead

and establish four elements, by clear and convincing evidence: (1) a confidential or fiduciary

relationship, (2) a promise, (3) a transfer in reliance thereon, and (4) unjust enrichment flowing

from the breach of the promise. Sanxhaku v. Margetis, 151 A.D.3d 778, 779 (N.Y. App. Div., 2d

Dep’t 2017) (defendant failed to establish by clear and convincing evidence that the plaintiff

made any express or implied promise to induce her to make the subject property transfer).

         Under New York law, “a written agreement precludes a finding of unjust enrichment—

[and that] also applies to constructive trust claims.” In re First Cent. Fin. Corp., 377 F3d 209,




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213 (2d Cir. 2004). “[A] constructive trust should not be imposed unless it is demonstrated that a

legal remedy is inadequate.” Bertoni v. Catucci, 117 A.D.2d 892, 498 N.Y.S.2d 902, 905 (NY

App. Div., 3d Dep’t, 1986). A constructive trust is “fraud-rectifying” rather than “intent-

enforcing.” Bankers Sec. Life Ins. Soc'y, 49 N.Y.2d at 940, 428 N.Y.S.2d 623, 406 N.E.2d 440

(N.Y. Ct. of Appeals 1980).

       Under Illinois law AND SIMILAR TO New York law, a constructive trust is an

equitable remedy available to redress unjust enrichment. National Union Fire Insurance Co. of

Pittsburgh, PA v. DiMucci, 2015 IL App (1st) 122725, ¶ 75. A constructive trust is imposed for

(1) actual or constructive fraud; (2) a fiduciary duty and subsequent breach of that duty; or (3)

duress, coercion, or mistake. Id. ¶ 77. That is,” ‘[w]hen a person has obtained money to which

he is not entitled, under such circumstances that in equity and good conscience he ought not

retain it, a constructive trust can be imposed to avoid unjust enrichment.’” Id. ¶ 76 (quoting

Smithberg v. Illinois Municipal Retirement Fund, 192 Ill.2d 291, 299 (2000)).

       Similar to Constructive trust, under New York law, the elements of an equitable

accounting are (1) a fiduciary or confidential relationship, (2) money or property entrusted to the

defendant imposing the burden of an accounting, (3) the absence of a legal remedy and (4) in

some cases, a demand, and a refusal. Metro. Bank & Tr. Co. v. Lopez, 189 AD3d 443, 446, 137

N.Y.S.3d 319 (N.Y. App. Div. 1st Dep’t 2020). With respect to the third element of an

accounting claim - whether there is no adequate remedy at law -, New York courts have held

that “an equitable accounting claim cannot coexist with a breach of contract claim covering the

same subject matter. Associated Mtge. Bankers, Inc. v Calcon Mut. Mtge. LLC, 159 F Supp. 3d

324, 340 (E.D.N.Y. 2016). See also 83 Causes of Action 2d 455 (Originally published in 2018).

       Under Illinois Law, “An accounting is a statement of receipts and disbursements to and




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from a particular source.” Devyn Corp. v. City of Bloomington, 2015 IL App (4th) 140819, ¶ 71.

“The right to an accounting is not an absolute right, but one which should be accorded only on

equitable principles.” Tarin v. Pellonari, 253 Ill. App. 3d 542, 555 (1993). Because the need for

an accounting is dependent on the particular facts of each case, there are no guidelines for

determining when an accounting is warranted. Id. To state a cause of action for an accounting,

“the complaint must establish that there is no adequate remedy at law and one of the following:

(1) a breach of a fiduciary relationship between the parties; (2) a need for discovery; (3) fraud;

or (4) the existence of mutual accounts which are of a complex nature.” (Internal quotation

marks omitted.) Landers v. Fronczek, 177 Ill. App. 3d 240, 245 (1988). A trial court will not

order an equitable accounting where doing so would be unnecessary. Devyn Corp., 2015 IL App

(4th) 140819, ¶ 71; see Tarin, 253 Ill. App. 3d at 555 (“[I]t is axiomatic that an accounting will

not be ordered if the circumstances are such as to make it unnecessary or Tufo v. Tufo, 2021 IL

App (1st) 192521 (Ill. App. 2021) improper.”). The plaintiff bears the burden of establishing that

he has the right to an accounting. Tarin, 253 Ill. App. 3d at 555.

               1. Count I Against Stella Should Be Dismissed

       Under New York law, Plaintiff has not and cannot allege a fiduciary relationship

between Stella, or that anything was entrusted to this entity, as it is a separate and distinct

corporation (that was created after the Agreement was signed) (Compl. ¶ 3). Additionally, there

are no allegations in the Complaint to suggest a piercing of the corporate veil as to Stella. See,

e.g., First Clover Leaf Bank v Bank of Edwardsville, 5-12-0440, 2014 W.L. 6612947, at *4 (Ill

App. Ct. Nov. 21, 2014] (“there is no evidence in the record that meets the requirement of

piercing a corporate veil…”); American Fuel Corporation v. Utah Energy Development

Company, 122 F.3d 130, 134 (2d Cir.1997) (there must be “dominion over the corporation” and



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“dominion was to commit a fraud or wrong that injured the party”).

       Plaintiff also does not allege in the Complaint a promise nor was there a promise by

Stella to Plaintiff, nor an allegation of a transfer to Stella (a/k/a Lipov Medical) or unjust

enrichment as a result. The court should remember that “[A]n accounting is an equitable

remedy,” Greene v Mizuho Bank, Ltd., 206 F Supp 3d 1362, 1378 (N.D. Ill 2016) (citing George

v. Kraft Foods Global, Inc., 641 F.3d 786, 801 n. 12 (7th Cir.2011)). Plaintiff has not stated in

the Complaint that it has no adequate remedy at law which is a requirement for any equitable

remedy to apply no matter if it is New York or Illinois Law at issue. In sum, as to Stella, there is

no allegation of fiduciary duty, no fraud, no mutual accounts and as a result no cause of action.

Count I and Stella should be dismissed with prejudice from this lawsuit.

               2. Count I Against Lipov Should Be Dismissed

        First, Plaintiff alleges and in fact the Agreement controls the relationship between Lipov

and Plaintiff. (Compl. ¶ 5). As such, Plaintiff has a remedy at law through a breach of contract

claim against Lipov (albeit faulty) and the constructive trust and accounting claims should be

dismissed under New York law. In re First Cent. Fin. Corp., 377 F3d 209, 213 (2d Cir. 2004)

(constructive trust); Associated Mtge. Bankers, Inc. v. Calcon Mut. Mtge. LLC, 159 F. Supp. 3d

324, 340 (E.D.N.Y. 2016) (accounting).

        Second, under New York law, officers of the corporation and shareholders of a close

corporation owe each other a duty to act in good faith (basically a fiduciary duty). Matter of

Cassata v. Brewster-Allen-Wichert, Inc., 248 A.D.2d 710, 711 (NY App. Div.2d Dept 1998).

However, Plaintiff has failed to plead a specific promise and transfer in reliance thereon as

required by the caselaw above. Failure to plead a specific promise and transfer in reliance

thereon as required by the case law means there is no viable cause of action as to Lipov. In sum,



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Count I against Lipov should be dismissed in its entirety.

C.      COUNT II SHOULD BE DISMISSED WITH PREJUDICE

        A. New York Law Concerning Breach of Fiduciary Duty

        Under New York law, to plead a breach of fiduciary duty, a plaintiff must allege (1) the

existence of a fiduciary relationship, (2) misconduct by the defendant, and (3) damages that

were directly caused by the defendant's misconduct” Kurtzman v. Bergstol, 40 A.D.3d 588, 590,

835 N.Y.S.2d 644 (NY App. Div. 2d Dep’t 2007). In general, the shareholders of a close

corporation owe each other a duty to act in good faith. Matter of Cassata v Brewster-Allen-

Wichert, Inc., 248 AD2d 710, 711 (2d Dept 1998). Directors of a corporation “owe a fiduciary

responsibility to the shareholders in general and to individual shareholders in particular to treat

all shareholders fairly and evenly” Armentano v. Paraco Gas Corp., 90 AD3d 683, 685 (2d Dept

2011). As discussed below, each basis upon which Plaintiff predicates its breach of fiduciary

duty claim fails to set forth a plausible claim as a matter of law.

               1. Confidential Information

        First, Plaintiffs Complaint makes naked allegations of a breach of fiduciary duty based

on disclosure and/or use of confidential information, without alleging the specific confidential

information allegedly disclosed, how it was used, and precisely how Plaintiff has been damaged.

(Compl. ¶ 20(b)). On this omission alone, the court should dismiss Count II of the Complaint.

Gordon v Dino De Laurentiis Corp., 141 A.D.2d 435, 436 (NY App. Div. 1st Dep’t 1988)

(plaintiff did not identify any confidential information or how the company was damaged –

dismissal granted). The Shareholder Agreement states,

               The Corporation possesses, and will possess, Confidential
               Information (as hereinafter defined) regarding its treatments of
               PTSD and the development of certain treatment protocols
               treatment and measurement of PTSD. The Shareholders shall


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               keep such Confidential Information and Materials from public
               disclosure …

Sect. 5. (ECF No. 1-1, PageID #:19). “Confidential Information” if further defined as

               proprietary information provided to the Corporation by the
               Shareholders and any nonpublic information that the Corporation
               specifically marks and designates, either orally or in writing, as
               confidential or which, under the circumstances surrounding the
               information, ought to be treated as confidential ….

Sect. 5(a). (Id.) Defendants position is that the procedures contributed by Lipov, were already in

the public record and therefore are not Confidential Information. New York law supports this. In

a 2012 case, the court discussed a defendant’s argument that “BLT menus cannot be confidential

information since they are publicly available.” BLT Rest. Group LLC v. Tourondel, 855 F Supp

2d 4, 24 (S.D.N.Y. 2012). Plaintiff in BLT argued “the notion of confidential information, is not

limited to non-public information.” Id. at 25.

       The Court in BLT held that the argument that “confidential information” may include

material that has been made public, is indefensible in light of the clarity and well-accepted

meaning of the term. “Confidential” is a word denoting secrecy, the very antithesis of public

disclosure. E.g., Confidential Definition, Merriam-Webster.com, http://www.merriam

webster.com/dictionary/confidential (last visited Feb. 15, 2012) Id. at 26. (emphasis added). see

also, Gordon v Dino De Laurentiis Corp., 141 AD2d 435, 436 (NY App. Div. 1st Dep’t 1988)

(information cannot be confidential if it was disclosed to plaintiff prior to the agreement).

        There are also some Ohio cases and publications that would support the idea that only

information that is not publicly disseminated is protected pursuant to a Confidentiality

Agreement. Eng'g Excellence, Inc. v. Meola, 2002-Ohio-5412, ¶ 33. Rainworks Ltd. v. Mill–

Rose Co., 622 F.Supp.2d 650, 657–58 (N.D. Ohio 2009) (information in the public domain does

not support a claim for breach of confidentiality). To be confidential, information must be in a


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state of limited access from individuals, groups, bodies, and institutions generally. Challenging

Medical-Legal Norms, 22 J Legal Med 1, 23 (2001).

       Moreover, the text of the Agreement support this argument. Section 5 states “The

Shareholders shall keep such Confidential Information and Materials from public disclosure”

Sect. 5. It reasonably follows that Confidential Information is that which is not public.

       In sum, because Plaintiff has not pled even a plausible guess as to which Confidential

Information it is referring to, how it was used, and how it damaged Plaintiff, Defendants cannot

prepare a defense and all claims based on confidential information should be dismissed.

       Second, Plaintiff alleges Lipov granted an exclusive license to the plaintiff for Lipov's

proprietary procedures (Compl. ¶ 9). However, the Shareholder Agreement reads as follows:

“in the event the Corporation ceases business operations or dissolves all rights assigned

pursuant hereto shall revert to Lipov.” Sect. 2 (ECF No. 1-1, PageID #: 18) (bolding added).

Absent a provision in the corporate documents to the contrary, a director or officer may

generally resign at will, and need not provide written notice. See Zeltner v. Henry Zeltner

Brewing Co., 66 N.E. 810, 812 (N.Y. 1903) (“[A]s a general rule, such officers may resign at

will.”). Fearing v. Glynn ,73 F. 116, 118 (2d Cir. 1896) (“[a director] can renounce his agency at

will, [and] can manifest his purpose by oral notice as well…”).

       The Agreement contains no prohibition on a shareholder and/or director/officer resigning

from the company. Lipov did exactly this by writing on July 8, 2019, and advised that he

transferred his shares to DeFina. At that point, the corporation ceased doing business, and the

Agreement did not require a formal wrap up, and all rights reverted to Dr. Lipov. As a result,

there is no claim for use of Lipov’s own procedures because all such confidential information

reverted to Lipov by the terms of the Agreement, coupled with Plaintiff’s failure to even provide




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enough information to guess as to the Confidential Information, the claim should be dismissed.

               2. Unenforceable Non-Compete

       Plaintiff alleges Lipov breached his fiduciary duty by creating and operating a company

in violation of a non-compete clause. (Compl. ¶ 20(d)). It is well established that post-

employment covenants against competition “are not favored” under New York law and will only

be enforced in limited circumstances. Morris v. Schroder Capital Mgt. Intl., 7 N.Y.3d 616, 620

(N.Y. Ct. of Appeals, 2006); BDO Seidman v. Hirshberg, 93 N.Y.2d 382, 389 (1999) (citing

Reed, Roberts Assoc. v. Strauman, 40 N.Y.2d 303, 307 (1976)) An agreement not to compete

must “reasonable in time and area, necessary to protect the employer’s legitimate interests, [and]

not harmful to the general public and not unreasonably burdensome to the employee” Scott,

Stackrow & Co., C.P.A.'s, P.C. v Skavina, 9 A.D.3d 805, 806 (NY App. Div. 3d Dep’t 2004).

       The restrictive covenant at issue in Scott failed to contain a geographical limitation,

prevented the former employee from soliciting or working for any client of the employer, and

the restriction was for two years. Scott, 9 A.D.3d at 806. The Appellate Division in Scott

affirmed the trial court's decision in granting the defendant’s motion for summary judgment

dismissing the complaint because the restrictive covenant was not reasonable in time and area

because it does not state a geographical limitation and bars the employee from soliciting and any

customer for two years. Id.; see also, Gilman & Ciocia, Inc. v Randello, 24 Misc. 3d 1216(A)

(NY Sup. Ct. Dutchess County, 2007) (the restrictive covenant “imposes an undue burden on

Randello barring him from dealing with any customer …”).

       New York’s Second Department’s in, Long Is. Minimally Invasive Surgery, P.C. v. St.

John's Episcopal Hosp., 164 A.D.3d 575, 577 (NY App. Div., 2d Dep’t 2018), lv to appeal

denied, 32 N.Y.3d 913 (NY Ct. of App. 2019), held that a 10-mile radius of all of the plaintiff's



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offices and affiliated hospitals, even those where defendant never worked, was geographically

unreasonable, because it effectively barred him from performing surgery, his chosen field of

medicine, in the New York metropolitan area. 164 A.D.3d at 578. Also, because it was so clearly

overbroad, the Court questioned the good faith, and refused to partially enforce the clause. Id.

       Here, the non-compete in the Shareholder Agreement is unenforceable and overbroad on

its face. The clause contains no geographic limitation, and bars Lipov from practicing as a

physician in his chosen practice area -- anywhere in the world. This alone should preclude

enforcement. See also Heartland Sec. Corp. v. Gerstenblatt, No. 99 Civ. 3694(WHP), 2000 WL

303274, at *7 (S.D.N.Y. Mar. 20, 2000) (refusing to fully, or partially, enforce a non-compete

with no geographic limitations). Moreover, combined with a three-year prohibition the

Agreement is extremely overly broad in both scope and time.

       Long Is. Minimally Invasive Surgery, P.C. eradicated a clause that sought to bar

competition in several areas of New York because it prevented the physician from pursuing his

chosen career. 164 A.D.3d at 578. Here, the situation is far worse because the clause seeks to

prevents Lipov from working as a physician in his chosen field anywhere in the world for three

years. Scott granted summary judgment when the clause was only two year, unlike the more

burdensome three-year clause in this case. 9 A.D.3COmd at 806. The sheer overbreadth casts

doubt on Plaintiff’s goo faith in imposing / trying to enforce the clause, and therefore it should

not blue penciled and the claim of fiduciary breach based on this clause should be dismissed.

               3. Best Efforts

       Plaintiff baldly alleges Lipov breached a fiduciary duty by violating a best-efforts clause

in the Agreement. (Compl. ¶ 20(a)). New York courts have held that with “best efforts” clauses,

it is essential that the agreement contain clear guidelines against which to measure such efforts



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in order for such clause to be enforced. Strauss Paper Co., Inc. v RSA Exec. Search, Inc., 260

A.D.2d 570, 571 (NY App. Div. 2d Dept 1999). Another New York court recently held that to

be enforceable, a “best efforts” clause must have “external standards or circumstances [that]

impart a reasonable degree of certainty to the meaning of the phrase best efforts.” Maestro W.

Chelsea SPE LLC v. Pradera Realty Inc., 38 Misc.3d 522, 954 N.Y.S.2d 819, 825 (Sup.Ct.2012)

(quotation marks omitted); Richbell Info. Services, Inc. v Jupiter Partners, L.P., 309 A.D.2d

288, 304 (1st Dept 2003) (discussing a standard measurable against a clear set of guidelines).

       Here, other than preparing training manuals after a procedure is developed, there is no

other guidance in the Agreement as to what constitutes best efforts. As a result the clause is

unenforceable, and Plaintiff has not sufficiently pled Best Efforts as a fiduciary breach.

               4. Claims Based on Mike Modica

       As discussed above, Plaintiff alleged that Lipov told DeFina about a new competing

company. As such, Plaintiff referred to a July 8, 2019, letter, wherein Lipov resigned all duties

and shares of Plaintiff. (Compl. ¶ 15). This court can consider the letter on a Rule 12 motion,

because it is “referred to in the complaint and [is] central to the plaintiff's claims.” McCready v.

eBay, Inc., 453 F.3d 882, 891 (7th Cir.2006). Via this letter, Lipov resigned as a shareholder,

officer and director. As of July 8, 2019, he no longer had a fiduciary duty to Plaintiff or DeFina.

Stella incorporated in 2020 (post-resignation), and even if the allegations are true (which they

are not), there is no claim against Lipov for allegedly convincing Modica to invest in Stella. The

claims based on this allegation should be dismissed.

       Summary - Count II lacks facts to support a plausible pleading. The alleged Confidential

Information is unidentified, and even so, was publicly disclosed and/or reverted to Lipov. The

claim is based on an unenforceable restrictive covenant, and there is no guidance as to what Best



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Efforts. Further, Plaintiff is missing elements required by Count II which relate to misconduct

and damages (none are alleged except in general). This Count should be dismissed with

prejudice.

       B. Count III should be dismissed with prejudice.

       Breach of contract requires plaintiff to prove that: (1) a contract exists (2) plaintiff

performed in accordance with the contract (3) defendant breached its contractual obligations,

and (4) damages. 34-06 73, LLC v Seneca Ins. Co., 2022 N.Y. Slip. Op. 06029 (NY Ct. App.

Oct. 27, 2022). The non-breaching party is discharged from performing any further obligations

under the contract and may elect to terminate the contract and sue for damages or continue the

contract. Markham Gardens L.P. v 511 9th LLC, 38 Misc. 3d 325, 331 (Sup. Ct. 2012). As to

breach of contract, Plaintiff notes that paragraph 3 of the Agreement requires Best Efforts,

paragraph 5 prohibits disclosure of Confidential Information, and paragraph 10 provides relief

for causing Modica not to invest. These three subjects were discussed above and are

incorporated into this section. Based the above arguments, Plaintiff has not plausibly pled

breach of contract and these allegations should be dismissed from the Complaint, with prejudice.

                                         CONCLUSION

       WHEREFORE, for the reasons set forth herein, Defendants respectfully request that this

Court dismiss Plaintiff’s Complaint in its entirety, pursuant to Rule 12(b)(6).

                                                Respectfully submitted,
                                                Defendants Eugene Lipov (“Lipov”) and Lipov
                                                Medical S.C. (Stella)
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